Filed 8/27/24 Delicious Foods v. Wildwood Packing and Cooling CA5




                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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               IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                       FIFTH APPELLATE DISTRICT


 DELICIOUS FOODS, LLC,
                                                                                           F084739
           Plaintiff and Appellant,
                                                                           (Super. Ct. No. 15CECG03406)
                    v.

 WILDWOOD PACKING AND COOLING,                                                          OPINION
 INC., et al.,

           Defendants and Respondents.


 WILDWOOD PACKING AND COOLING,                                             (Super. Ct. No. 18CECG03169)
 INC.,

           Cross-complainant and Respondent,

                    v.

 SUNSWEET FRESH STONE FRUIT, LLC,

           Cross-defendant.



         APPEAL from a judgment of the Superior Court of Fresno County. Rosemary T.
McGuire, Judge.
         Gilmore Magness Janisse and David M. Gilmore for Plaintiff and Appellant.
       Migliazzo Law, John L. Migliazzo and Dusty Nunes for Defendant, Cross-
complainant and Respondent, Wildwood Packing and Cooling, Inc., and Defendant and
Respondent, Luke Woods.
       Baker Burton &amp; Lundy, Brad N. Baker, Albro L. Lundy and Evan R. Koch for
Defendants and Respondents, Giumarra Bros. Fruit Co., Inc., and Giumarra Companies.
       No appearance for Cross-defendant.
                                         -ooOoo-
       This case involves a dispute between two members of Sunsweet Fresh Stone Fruit,
LLC (“Sunsweet”), a company formed to market and sell fruit. The two embattled
members are plaintiff and appellant Delicious Foods, LLC and defendant and respondent
Wildwood Packing and Cooling, Inc. According to Delicious Foods, the conflict arose
when Wildwood notified Sunsweet’s members of its intent to terminate Sunsweet’s
operating agreement in 60 days. Delicious Foods contends that the operating agreement
allowed Wildwood to terminate the operating agreement upon notice in three years, not
60 days. Delicious Foods also asserts that after giving its notice, Wildwood engaged in a
host of wrongful conduct, including entering into a marketing agreement with one of
Sunsweet’s competitors, defendants and respondents Giumarra Bros. Fruit Co., Inc.. and
Giumarra Companies (collectively, “Giumarra”). Wildwood also allegedly lured
Sunsweet’s customers, growers, and employees toward Giumarra.
       A third amended complaint alleged six causes of action against Wildwood,
Giumarra, and one of Sunsweet’s managers and its CEO, Luke Woods, though not all
claims are directed at each defendant. The first three causes of action were alleged by
Sunsweet and the latter three were alleged by Delicious Foods. But in the second
amended complaint, the first three claims were brought by Delicious Foods derivatively
on Sunsweet’s behalf. The trial court struck Sunsweet’s three claims on motion as
Sunsweet had never been a plaintiff in the action and Delicious Foods had never
requested nor was granted leave to amend its complaint to add Sunsweet as a plaintiff.


                                            2.
       Wildwood, Woods, and Giumarra later moved for judgment on the pleadings as to
the three remaining claims asserted by Delicious Foods directly, which the trial court
granted. As to two of those claims, the court ruled the claims were derivative and thus
Delicious Foods lacked standing to bring them. As to the third, the court found Delicious
Foods had not sufficiently pleaded an element of the cause of action. A judgment was
entered in favor of Wildwood, Woods, and Giumarra.
       While Delicious Foods’ complaint was being litigated, Wildwood filed suit against
Sunsweet for unpaid packing charges. Sunsweet answered the complaint and cross-
complained against Wildwood. On Wildwood’s motion, the court struck Sunsweet’s
answer and cross-complaint due to Sunsweet’s suspended corporate status. Wildwood
ultimately obtained a default judgment against Sunsweet.
       Delicious Foods appeals from both of the judgments. We affirm both judgments.
                       FACTS AND PROCEDURAL HISTORY
I.     Background Facts
       The following background facts are derived from the third amended complaint
(“TAC”), which is challenging to read. Additionally, many of Delicious Foods’ factual
assertions in its opening brief lack citations to the record, which impedes our review.
(See Air Couriers Internat. v. Employment Development Dept. (2007) 150 Cal.App.4th
923, 928 [we have no duty to search through record unassisted for evidence]; see Cal.
Rules of Court, rule 8.204(a)(1)(C) [each factual assertion in an appellate brief must be
supported by a citation to the record].) Despite these issues, we have endeavored to
interpret the TAC as accurately as possible.
       A.     Sunsweet and the Operating Agreement
       Sunsweet was formed in January 2010 by three members—Delicious Foods,
Wildwood, and Michael Bujulian—to collectively market and sell stone fruit under the
“Sunsweet” or “Sunsweet Fresh” name. The members signed an operating agreement
that month. Shortly after, the members expanded Sunsweet’s operations to include citrus.


                                               3.
The members executed a first amended and restated operating agreement (“the
agreement”) in January 2011 reflecting this change. The first two pages of the original
agreement and the entire amended agreement are attached to the complaint as exhibits.
       The agreement reflected changes to the members’ required capital contributions
and their ownership interests. Wildwood and Bujulian were required to contribute stated
sums of cash and all of their fruit production and sales business to Sunsweet. Delicious
Foods was required to contribute cash and all of its fruit sales business and “the right to
use the Sunsweet Brand for California stone fruit and citrus products.”1 The members
agreed “to use their best efforts to generate sales of high-flavor California stone fruit and
citrus products for the benefit of the Company.” Delicious Foods received a 56 percent
membership interest, Wildwood 40.5 percent, and Bujulian 3.5 percent.
       Sunsweet is a manager-managed limited liability company that is managed
through a management committee consisting of five managers. Delicious Foods had the
authority to appoint three managers and Wildwood and Bujulian could each appoint one.
Luke Woods was appointed as a manager—and still is a manager—and at some point
became Sunsweet’s CEO. The TAC implies Woods is involved somehow in Wildwood.
The TAC does not say who Sunsweet’s other managers are.
       Section 1.5 of the agreement is entitled “Term” and reads:

              “The initial term of this First Amended and Restated Operating
       Agreement shall be for three (3) years, with one year being added to the
       remaining Term on each anniversary date of this Agreement unless written
       notice that such one year extension shall not apply is given prior to such
       anniversary date by any member holding not less than 33% of the
       Membership Interests in the Company.”



1       The TAC avers, “Delicious Foods has the license to use the ‘Sunsweet’ and
‘Sunsweet Fresh’ trademarks in connection with the marketing and sale of fresh stone
fruit and citrus, and the right, in certain circumstances to permit others to use such
trademarks in connection with such business.” The TAC does not say who owns the
trademarks.

                                              4.
       Delicious Foods interprets this section as providing for “a three year period of
time to wind down and terminate the business of Sunsweet Fresh.” So when notice is
given under section 1.5 to not extend the agreement, it begins a three-year wind down
period at the end of which both the agreement and the company terminate. The TAC
alleges this “wind down period was designed with the intention to provide the members
sufficient time to deal with the termination of Sunsweet Fresh and, most importantly, to
provide time to make and carry out plans to return respective businesses contributed by
the members, including Delicious Foods, back into the hands of the contributor without
damaging those interests through an abrupt and unplanned termination.”
       Article X of the agreement is entitled “DISSOLUTION, LIQUIDATION, AND
TERMINATION OF THE COMPANY.” That article provided the exclusive means for
dissolving, liquidating, and terminating the company, and provided that the parties
“irrevocably waive any and all other rights they may have to cause a dissolution of the
Company.”
       Section 10.2 of Article X is entitled “Exclusive Causes.” It lists two events as “the
only events that can cause the dissolution and liquidation of the Company.” One of the
events is a decree of judicial dissolution. The other is “[t]he written election by the
Members holding fifty-one percent … of the Percentage Interests so to dissolve,
liquidate, and terminate the Company, provided such Members make an affirmative
statement and finding that one of the following with reference to California Corporations
Code Section 17351(a) has occurred:” The occurrences are: (1) it is no longer practical
to carry on the business in conformity with the Articles of Organization or the agreement;
(2) dissolution is reasonably necessary to protect the rights or interests of the members
electing dissolution; (3) the business has been abandoned; and (4) those controlling the
company have committed or knowingly countenanced fraud, mismanagement, or abuse
of authority.




                                              5.
       Section 1.5 of the agreement is not referenced in section 10.2. And even though
section 10.2 sets forth the exclusive grounds for terminating the company, the TAC still
implies that section 1.5—which only addresses the term of the agreement—provides a
ground for terminating both the agreement and the company.
       B.      Wildwood’s Letter to Sunsweet’s Members and Later Actions
       In August 2015, Wildwood tendered a letter to Sunsweet’s other members giving
notice that it was terminating the agreement in 60 days. After submitting its letter,
Wildwood “proceeded to engage in conduct … that deprived Delicious Foods its rights to
have a three year period of time in during which it would have had the opportunity to
make arrangements for the business that it contributed to Sunsweet Fresh to be returned
to it, undamaged, upon the termination of Sunsweet Fresh.” This conduct included
Wildwood’s “entering into a new sales and marketing agreement with [Giumarra]
concerning all of the sales and marketing of Wildwood’s stone fruit and citrus.”
Wildwood also persuaded Sunsweet employees to go to work for Giumarra; convinced
growers under contract with Sunsweet to terminate their contracts and enter new
agreements with Giumarra—including those growers Delicious Foods contributed to
Sunsweet; took control of Sunsweet’s business office and accessed its grower lists and
marketing and sales contracts for information; and directly competed with Sunsweet “by
taking steps to transfer the bulk of its fruit production and sales business away from
Sunsweet.” In sum, after sending its notice of intent to terminate the agreement,
Wildwood “proceeded to act as if in fact there was a termination of the Operating
Agreement.”2




2      Even so, and as will be mentioned again, the TAC pleads that Sunsweet is still an
ongoing entity and still governed by the agreement. And Delicious Foods’ counsel stated
during appellate oral argument that Sunsweet still has not been dissolved.

                                             6.
II.    Delicious Foods Files Suit
       Delicious Foods filed suit in November 2015 alleging three causes of action
against Wildwood, Woods, and Giumarra. The trial court sustained Wildwood’s demurrer
to the complaint with leave to amend on the ground that all the claims were derivative
and that Delicious Foods had not properly pleaded that it had complied with the pre-suit
demand requirement.3
       Delicious Foods filed its first amended complaint in April 2016, alleging six
causes of action. The first three causes of action were asserted derivatively on behalf of
Sunsweet and the other three were asserted directly. Wildwood and Woods demurred
with Giumarra joining. The trial court sustained the demurrer with leave to amend. As to
the derivative claims, the court ruled that while Delicious Foods had alleged that it had
presented the claims to Sunsweet’s management, Delicious Foods had not sufficiently
alleged that Sunsweet had refused to act on the claims. As to the direct claims, the court
held that “although there are allegations that [Delicious Foods] has suffered as a result of
damages to Sunsweet, there are no allegations of any violation of any ‘special duty
independent of [Delicious Foods’] status as shareholder,’ ” and thus Delicious Foods had
not sufficiently pled standing to bring the claims directly.
       Delicious Foods filed its second amended complaint in August 2016, realleging
the same six causes of action. Wildwood and Woods, on the one hand, and Giumarra, on
the other hand, separately demurred. The trial court sustained each demurrer in its
entirety with leave to amend for a final time. As to the three derivative claims, the court
ruled that Delicious Foods had not sufficiently alleged that Sunsweet’s management had
refused to act on the claims, nor had it sufficiently alleged that it would be futile to
present the claims to the management and demand it act on them. As to the direct claims,


3     A plaintiff bringing a derivative action on behalf of a limited liability company
must plead with particularity its efforts to demand that the limited liability company
pursue the action or its reasons for not doing so. (Corp. Code, § 17709.02, subd. (a)(2).)

                                              7.
the court found that the gravamen of those causes of action was that Delicious Foods
suffered harm incidental to its being a member of Sunsweet, and thus the claims were
derivative.
III.   Third Amended Complaint
       Delicious Foods filed its TAC in January 2017. This is the operative complaint for
purposes of this appeal. The TAC realleged the same causes of action. The first three
causes of action, which were alleged by Delicious Foods derivatively in the first and
second amended complaints, were now being alleged by Sunsweet directly against the
defendants. Sunsweet was purportedly being represented by the same counsel as
Delicious Foods. The other three causes of action were still being alleged directly by
Delicious Foods. Thus, no claims were any longer being alleged derivatively.
       The first cause of action was by Sunsweet against Wildwood for breach of the
agreement. It alleged that Wildwood, as a Sunsweet member, was obligated under the
operating agreement to not compete with the Sunsweet. Wildwood breached this
obligation by, among other things, entering into a business deal with Giumarra, causing
Sunsweet employees to leave and work for Giumarra, and persuading growers under
contract with Sunsweet to take their business to Giumarra.
       The second cause of action was by Sunsweet against Woods and Giumarra for
intentional interference with economic relations and prospective economic advantage. It
alleged that Woods, one of Sunsweet’s managers and its CEO, engaged in negotiations
with Giumarra to transfer to Giumarra all of Wildwood’s fruit production and sales
business and that of other growers and customers of Sunsweet. Giumarra knew of
Wildwood’s contractual obligations to Sunsweet, including Wildwood’s obligations under
the agreement, but still entered into a sales and marketing agreement with Wildwood
“with the intent to disrupt and usurp the contractual relationships between Sunsweet
Fresh and its growers and customers.” (Emphasis omitted.) This tortious conduct has




                                            8.
caused Sunsweet to lose “a large percentage, if not all, of the economic benefits … they
were entitled to under the [agreement]” and under grower and customer contracts.
       The third cause of action was by Sunsweet against Woods and Wildwood for
breach of fiduciary duty. It alleged that Woods, as a manager, and Wildwood, as a
member, owed fiduciary duties of care and loyalty to Sunsweet and breached these duties
by entering into a competing business relationship with Giumarra and by allowing
Giumarra access to Sunsweet’s grower lists and customer contracts, financially harming
Sunsweet.
       The fourth cause of action was by Delicious Foods against Wildwood for breach
of section 1.5 of the agreement. It alleged that Wildwood breached the operating
agreement by (1) notifying Sunsweet’s other members that it was terminating the
agreement in 60 days instead of three years as required by section 1.5 of the agreement,
and by (2) proceeding to act as if the agreement had been terminated. But the TAC did
not allege that Sunsweet was terminated; indeed, it expressly alleged Sunsweet is
ongoing and is still governed by the operating agreement. It also expressly alleged
Wildwood is still a Sunsweet member. Delicious Foods was directly harmed by the
alleged breach in that it lost the benefit of having a three-year wind-down period—the
opportunity to speak with the growers and customers Delicious Foods had contributed to
Sunsweet and try to persuade them to stay with Delicious Foods after Sunsweet
terminated. Delicious Foods also alleged harm to its goodwill, including damage to its
reputation in the marketplace, as well as diminution of the value of the license it holds to
the “Sunsweet” and “Sunsweet Fresh” trademarks.
       The fifth cause of action was by Delicious Foods against Woods and Giumarra for
intentional interference with economic relations and prospective economic advantage.
Much like in the second cause of action, it is alleged that Woods and Giumarra, both
knowing about Wildwood’s business relationship with Delicious Foods and Sunsweet,
worked together to cause Wildwood to breach section 1.5 of the operating agreement by


                                             9.
giving notice to Sunsweet’s members that it was terminating the agreement in 60 days
and proceeding to act as if the agreement had been terminated. That is, Woods and
Giumarra caused Wildwood to commit the breach alleged in the fourth cause of action.
       The sixth cause of action was by Delicious Foods against Woods and Wildwood
for breach of fiduciary duty. It alleged Woods, as a Sunsweet manager, owed a duty of
loyalty to Sunsweet’s members under Corporations Code section 17704.09,
subdivisions (b) and (f)(1).4 It also alleged Wildwood, as a member, owed duties of care
and loyalty to the other members.5 Woods and Wildwood breached their duties of loyalty
to the members by directly competing with Sunsweet, accessing Sunsweet’s grower lists
and customer contracts, and communicating with Sunsweet customers that Delicious
Foods contributed to the company. These breaches have damaged Delicious Foods’
goodwill, resulting in financial loss.

IV.    Wildwood Moves to Strike Sunsweet’s Claims Asserted in Third Amended
       Complaint
       In May 2017, Wildwood moved under Code of Civil Procedure sections 435 and
436 to strike the first three causes of action asserted in the TAC, which were Sunsweet’s
three claims. Wildwood’s chief ground for striking the claims was that Delicious Foods
had not even moved for, much less been granted, leave to add Sunsweet as a plaintiff to
the action. Giumarra joined the motion and Delicious Foods opposed. The trial court
granted the motion on the ground that Delicious Foods had not moved to amend its
complaint to add Sunsweet as a plaintiff, but added the motion was granted “without
prejudice” to allow Delicious Foods to do so. Delicious Foods never moved to amend.



4       Corporations Code section 17704.09 enumerates the fiduciary duties of limited
liability company managers and members. It states the duties owed by members in a
member-managed limited liability company and the duties owed by members and
managers in a manager-managed limited liability company.
5      The TAC does not allege the basis for Wildwood’s fiduciary duties.

                                           10.
V.     Wildwood Moves for Judgment on the Pleadings as to the Third Amended
       Complaint
       After the trial court struck the first three causes of action of the TAC and Delicious
Foods did not move to amend those claims, only the fourth through sixth causes of action
remained. In May 2022, Wildwood filed a nonstatutory motion for judgment on the
pleadings as to the rest of the TAC, which Giumarra joined. The sole ground stated in
Wildwood’s motion was that Delicious Foods had not alleged direct injury; instead, the
alleged injury was incidental to harm to Sunsweet and thus the claims were derivative.
Delicious Foods opposed the motion.
       The court orally granted the motion after a hearing on May 17, 2022, as to the
three remaining causes of action. As to the fourth cause of action for breach of the
agreement, the court focused on the TAC’s allegations of the damages caused by the
alleged breach. These alleged damages included that Wildwood contacted growers under
contract with Sunsweet to try to get them to enter into news sales and marketing
agreements with Giumarra, resulting in immediate loss of grower fruit production and
sales for Sunsweet. The court also noted the allegations that Wildwood directly
competed with Sunsweet and accessed Sunsweet’s grower lists to solicit the growers to
terminate their contracts with Sunsweet.
       The court then stated the distinction between direct and derivative claims:

       “A cause of action is individual and not derivative only where it appears
       that the injury resulted from the violation of some special duty owed to the
       stockholder by the wrongdoer and having its origin and circumstances
       independent of the plaintiff’s status as a shareholder….”

       “ ‘If the injury is not incidental to an injury to the corporation, an individual
       cause of action exists. An action is deemed derivative if the gravamen of
       the complaint is injury to the corporation or to the whole body of its stock
       and property wiped out any severance or dissolution among individual
       holders or it seeks to recover assets for the corporation or prevent the
       dissipation of assets. A personal claim, in contrast, asserts a right against
       the corporation which the shareholder possesses as an individual apart from
       the corporate entity. If the injury is not incidental to an injury to the
       corporation, an individual cause of action exists.’ ”

                                             11.
       The court then ruled that the breach of contract claim was “based on the operation
of alleged duty owed to Sunsweet Fresh and is at least incidental to the loss suffered by
the corporation,” and thus “no private right of action accrues as it does not involve rights
plaintiff possessed apart from the corporate entity.”
       As to the fifth cause of action for “intentional interference with economic relations
and prospective advantage,” the court stated that to maintain such a claim, “the
interfering conduct … must be wrongful by some legal measure other than the fact of the
interference itself.”6 The court added, “[Conduct] is independently wrongful if it’s
prescribed by some constitutional, statutory, regulatory common law or other
determinable legal standard.” The court held that the TAC contained no “specific
allegations” that any alleged act was prescribed by any law or legal standard.
       As to the sixth cause of action for breach of fiduciary duty, the court held that the
gravamen of the complaint was injury to the company and thus any harm to Delicious
Foods is incidental.
       After granting the motion for judgment on the pleadings at the hearing on the
motion, the trial court took Delicious Foods’ request for leave to file a fourth amended
complaint under advisement. At another hearing days later, the court confirmed
judgment on the pleadings without leave to amend.

VI.    Wildwood’s Complaint Against Sunsweet and Sunsweet’s Cross-complaint
       Against Wildwood
       In August 2018, Wildwood filed a complaint against Sunsweet alleging causes of
action for common counts and breach of contract. The complaint sought monetary
damages for fruit packing charges totaling just over $400,000. In September 2018,

6       The torts of interference with contract and of intentional interference with
prospective economic advantage are separate, and the TAC was unclear on whether
Delicious Foods was alleging one or both. (40 Cal.Jur.3d (2024) Interference with
Economic Advantage, § 10.) At the hearing on the motion, Delicious Foods’ counsel
stated the fifth cause of action asserted both torts, but admitted the distinct torts were “not
as artfully pled in hindsight” as they should have been.

                                             12.
Sunsweet, through the same counsel representing Delicious Foods, answered and cross-
complained against Wildwood and Woods. The trial court consolidated this case with the
case commenced in 2015 by Delicious Foods.
       In December 2018, Wildwood moved to strike Sunsweet’s answer and cross-
complaint because Sunsweet was suspended by the Secretary of State for failure to file a
statement of information. Sunsweet opposed the motion, representing that it had taken
the steps to revive itself. Shortly after, Wildwood withdrew its motion to strike because
Sunsweet had been revived. Wildwood and Woods answered Sunsweet’s cross-
complaint.
       In May 2022, Wildwood again moved to strike Sunsweet’s pleadings because
Sunsweet again became suspended, this time by the Franchise Tax Board for failing to
pay its taxes. Delicious Foods opposed the motion on Sunsweet’s behalf.
       In May 2022, the trial court orally granted Wildwood’s motion to strike
Sunsweet’s answer and cross-complaint. The court explained:

       “Wildwood filed its complaint on August 27, 2018. An answer was filed.
       However, Sunsweet is currently suspended, and my understanding is it has
       been suspended for the majority of the time that this matter has been in
       litigation. A suspended corporation cannot defend an action. It is still
       suspended. No effort was made to rectify the suspension of that
       corporation for purposes of appearing at trial. So at this point, the Court is
       going to grant the motion to strike the answer.”
       After the hearing, the court signed an order tracking its oral pronouncement. The
order granted the motion to strike both Sunsweet’s answer and cross-complaint. It also
directed the clerk to enter Sunsweet’s default on Wildwood’s complaint and directed
Wildwood to submit its request for default judgment. A default judgment was ultimately
entered in Wildwood’s favor.
VII.   Notices of Appeal
       Delicious Foods appeals from (1) the judgment entered on the pleadings in its
action and (2) the default judgment entered against Sunsweet in Wildwood’s action.


                                             13.
Despite the latter judgment being entered against Sunsweet, Sunsweet is not a party to
this appeal; Delicious Foods is the only appellant and seeks to assert appellate claims on
Sunsweet’s behalf.
                                      DISCUSSION
       We will first address the issues raised relating to the judgment entered in Delicious
Foods’ action and then the issues raised relating to the default judgment entered in
Wildwood’s action.
I.     Claims Stemming from the Judgment Entered in Delicious Foods’ Action
       A.     Motion for Judgment on the Pleadings
       Delicious Foods contends the trial court erred in granting Wildwood’s nonstatutory
motion for judgment on the pleadings as to the fourth through sixth causes of action, each
of which was asserted on a direct basis against the defendants.7 We affirm.
              1.     Basic Appellate Law Principles
       There are fundamental rules of appellate procedure that play an important role in
the outcome of this appeal. The most fundamental rule of appellate review is that the
judgment or order challenged on appeal is presumed to be correct, and “it is the
appellant’s burden to affirmatively demonstrate error.” (People v. Sanghera (2006)
139 Cal.App.4th 1567, 1573.) “ ‘All intendments and presumptions are indulged to
support it on matters as to which the record is silent, and error must be affirmatively
shown.’ ” (Denham v. Superior Court (1970) 2 Cal.3d 557, 564.)
       Also, “an appellant must present argument and authorities on each point to which
error is asserted or else the issue is waived.” (Kurinij v. Hanna &amp; Morton (1997)
55 Cal.App.4th 853, 867.) Matters not properly raised or that lack adequate legal


7      Delicious Foods does not challenge whether a nonstatutory motion for judgment
on the pleadings remains viable. (See Tung v. Chicago Title Co. (2021) 63 Cal.App.5th
734, 756–759 [noting continued viability of nonstatutory motions for judgment on the
pleadings after Code Civ. Proc., § 438’s enactment is “unclear” but declining to decide
the question].)

                                            14.
discussion will be deemed forfeited. (Keyes v. Bowen (2010) 189 Cal.App.4th 647, 655–
656.) In short, an appellant must demonstrate error based on sufficient legal argument
supported by citation to an adequate record. (Yield Dynamics, Inc. v. TEA Systems Corp.
(2007) 154 Cal.App.4th 547, 556–557.)
              2.      Standard of Review
       “ ‘A judgment on the pleadings in favor of the defendant is appropriate when the
complaint fails to allege facts sufficient to state a cause of action. (Code Civ. Proc.,
§ 438, subd. (c)(3)(B)(ii).) A motion for judgment on the pleadings is equivalent to a
demurrer and is governed by the same de novo standard of review.’ (Kapsimallis v.
Allstate Ins. Co. (2002) 104 Cal.App.4th 667, 672.) ‘All properly pleaded, material facts
are deemed true, but not contentions, deductions, or conclusions of fact or law ….’
(Ibid.)” (People ex rel. Harris v. Pac Anchor Transportation, Inc. (2014) 59 Cal.4th 772,
777.) “We also consider matters shown in exhibits attached to the complaint and
incorporated by reference.” Performance Plastering v. Richmond American Homes of
California, Inc. (2007) 153 Cal.App.4th 659, 665.) We review the complaint to
determine whether it “alleges facts sufficient to state a cause of action under any legal
theory.” (Cantu v. Resolution Trust Corp. (1992) 4 Cal.App.4th 857, 879.) We affirm the
judgment on the pleadings if it is supported by any proper ground, “even if the trial court
relied on an improper ground” and regardless of whether “the defendants asserted the
proper ground in the trial court.” (See id. at p. 880, fn. 10.)
              3.      Fourth Cause of Action – Breach of Contract
       Delicious Foods’ fourth cause of action for breach of the agreement was asserted
against Wildwood. The TAC alleged Wildwood breached section 1.5 of the agreement by
(1) giving notice to the members that it was terminating the agreement in 60 days instead
of three years, and then (2) directly competing with Sunsweet by entering into a sales and
marketing agreement with Giumarra; luring Sunsweet’s customers, growers, and
employees toward Giumarra; and taking over Sunsweet’s business office. The TAC


                                              15.
alleged these actions harmed Delicious Foods directly because Delicious Foods was
deprived of the three-year wind down period provided in section 1.5 and suffered harm to
its goodwill. The trial court disagreed, granting judgment on the pleadings as to this
cause of action on the ground that any harm Delicious Foods suffered was incidental to
harm to Sunsweet and thus the claim was derivative.
       On appeal, Delicious Foods asserts Wildwood breached the agreement by
“unilaterally terminat[ing]” the agreement. But this directly contradicts the TAC, which
expressly alleged Sunsweet is an ongoing entity and still governed by the agreement.
However, Delicious Foods still maintains on appeal that it has alleged direct harm and
thus the court erred in granting judgment on the pleadings as to this cause of action.
       We affirm the court’s ruling as to this cause of action but on a different ground
than the nature of any alleged harm. As we will explain, the TAC’s allegations are
insufficient to establish that Wildwood breached section 1.5 of the agreement. We
therefore need not address the nature of any alleged harm.
       To establish a breach of contract, the plaintiff must show (1) the existence of the
contract, (2) the plaintiff’s performance or excuse for nonperformance, (3) the
defendant’s breach, and (4) the resulting damages to the plaintiff. (Oasis West Realty,
LLC v. Goldman (2011) 51 Cal.4th 811, 821.) To prove breach, the plaintiff is required to
prove the defendant failed to do something the contract required the defendant to do, or
the defendant did something the contract prohibited the defendant from doing. (See
Gabriel v. Wells Fargo Bank, N.A. (2010) 188 Cal.App.4th 547, 553, fn. 3.)
       Without deciding its reasonableness, we will apply the interpretation of section 1.5
of the agreement Delicious Foods asserted in the TAC. The TAC alleged that when a
member with at least a 33 percent membership interest—and Wildwood holds a
40.5 percent interest—gives notice under section 1.5 that it intends to terminate the
agreement, a three-year wind down period begins, at the end of which both the agreement
and the company terminate. Under that interpretation, section 1.5 is breached only if the


                                            16.
agreement is actually terminated before the wind down period ends. And as already
mentioned, the TAC expressly alleged Sunsweet is ongoing and still governed by the
agreement. The TAC’s allegations thus had not pleaded that section 1.5 was breached.
The trial court’s order as to this cause of action is affirmed on this basis.

              4.      Fifth Cause of Action – Intentional Interference with Economic
                      Relations and Prospective Advantage
       Delicious Foods’ fifth cause of action for intentional interference with economic
relations and prospective advantage was alleged as a direct claim against Giumarra and
Wildwood. The court granted judgment on the pleadings as to this cause of action on the
ground that Delicious Foods had not alleged “wrongful conduct” as required to maintain
such a claim. But Delicious Foods does not address this ground at all in its briefing. It
instead argues that this tortious conduct harmed Delicious Foods directly.
       To prevail on appeal from an order granting a motion for judgment on the
pleadings, the appellant must “ ‘overcome all legal grounds on which the trial court
sustained the demurrer.’ ” (Save Lafayette Trees v. East Bay Regional Park Dist. (2021)
66 Cal.App.5th 21, 35.) Delicious Foods’ failure to address the ground the trial court
relied on in granting the motion as to this cause of action means that the presumption of
correctness has not been rebutted. The trial court’s order as to this cause of action is thus
affirmed.
              5.      Sixth Cause of Action – Breach of Fiduciary Duty
       Delicious Foods’ claim for breach of fiduciary duty was asserted against
Wildwood and Woods. Delicious Foods contends the trial court erred in granting
judgment on the pleadings as to this cause of action on the ground that the claim is
derivative and not direct. We disagree.
       “ ‘The elements of a cause of action for breach of fiduciary duty are: (1) the
existence of a fiduciary duty; (2) the breach of that duty; and (3) damage proximately
caused by that breach.’ ” (IIG Wireless, Inc. v. Yi (2018) 22 Cal.App.5th 630, 646.)


                                              17.
       Derivative claims arise from the fundamental principle that “a corporation is a
legal entity that is distinct from its shareholders.” (Grosset v. Wenaas (2008) 42 Cal.4th
1100, 1108.) “Because a corporation exists as a separate legal entity, the shareholders
have no direct cause of action or right to recovery against those who have harmed it. The
shareholders may, however, bring a derivative suit to enforce the corporation’s rights and
redress its injuries when the board of directors fails or refuses to do so.” (Ibid.) Put
differently, “a derivative suit is one in which the shareholder seeks ‘redress of the wrong
to the corporation.’ ” (Bader v. Anderson (2009) 179 Cal.App.4th 775, 793.) “A personal
claim, in contrast, asserts a right against the corporation which the shareholder possesses
as an individual apart from the corporate entity: ‘If the injury is not incidental to an
injury to the corporation, an individual cause of action exists.’ ” (Denevi v. LGCC, LLC
(2004) 121 Cal.App.4th 1211, 1222.) “[T]he principles of derivative lawsuits applicable
to corporations likewise apply to [] limited liability compan[ies].” (PacLink
Communications Internat., Inc. v. Superior Court (2001) 90 Cal.App.4th 958, 963.)
       “ ‘In determining whether an individual action as opposed to a derivative action
lies, a court looks at “the gravamen of the wrong alleged in the pleadings.” ’ ” (Holistic
Supplements, LLC v. Stark (2021) 61 Cal.App.5th 530, 542.) “An action is deemed
derivative ‘ “if the gravamen of the complaint is injury to the corporation, or to the whole
body of its stock and property without any severance or distribution among individual
holders, or it seeks to recover assets for the corporation or to prevent the dissipation of its
assets.” ’ ” (Grosset v. Wenaas, supra, 42 Cal.4th at p. 1108.) Conversely, a direct action
seeks “ ‘ “to enforce a right against the corporation which the stockholder possesses as an
individual.” ’ [Citations.] For example, ‘ “[i]f the injury is one to the plaintiff as a
stockholder and to him individually, and not to the corporation, as where the action is
based on a contract to which he is a party, or on a right belonging severally to him, or on
a fraud affecting him directly, it is an individual action.” ’ ” (Schrage v. Schrage (2021)
69 Cal.App.5th 126, 150.)


                                              18.
       Delicious Foods’ opening brief contains only a few sentences about the sixth cause
of action, which appear to have been made cursorily. Delicious Foods states that
Wildwood and Woods breached their fiduciary duties owed to it under Corporations Code
section 17704.09. Citing that section, but without specifying any of its subdivisions,
Delicious Foods asserts that “a member owes duties to the other members and the entity
of loyalty and care including the duty to ‘refrain from competing with the limited liability
company.’ ” Delicious Foods does not explain how these fiduciary duties were violated,
but it asserts: “Woods and Wildwood decided to breach their fiduciary duties as a
member and cause Sunsweet Fresh to lose business immediately and permanently over a
very short period of time.” (Italics added.) The italicized language describes harm to
Sunsweet only. Nowhere in its opening brief does Delicious Foods explain how the
breach of any fiduciary duty caused direct harm to Delicious Foods. Thus, although
Delicious Foods has asserted—even if in conclusory fashion—that Wildwood and Woods
owed it fiduciary duties, it has not explained how it suffered any direct harm from the
breach of any duties. It therefore has not shown that the trial court erred in granting
judgment on the pleadings as to this cause of action.
              6.     Leave to Amend
       Delicious Foods does not challenge the trial court’s decision to deny leave to
amend and we therefore will not disturb it.

       B.     Motion to Strike Sunsweet’s Claims Asserted in Third Amended
              Complaint
       The trial court granted Wildwood’s motion to strike Sunsweet’s three causes of
action asserted in the TAC on the ground that the court had not granted Delicious Foods
leave to amend the complaint to add Sunsweet as a plaintiff.
       On appeal, Delicious Foods argues the court erred in striking Sunsweet’s causes of
action. Delicious Foods asserts Sunsweet’s three causes of action were derivative claims
that Delicious Foods should have been allowed to bring on Sunsweet’s behalf despite


                                              19.
Sunsweet’s suspended status. This argument is off point for the main reason that it is
irrelevant to the ground the trial court relied on to strike the claims.
       We first note that Delicious Foods incorrectly characterizes the stricken claims as
derivative. Derivative claims are brought on behalf of an entity; an entity does not bring
derivative claims on behalf of itself. (Leyte-Vidal v. Semel (2013) 220 Cal.App.4th 1001,
1008.) From the original complaint through the second amended complaint, the claims
were asserted derivatively by Delicious Foods on Sunsweet’s behalf. But in the TAC, the
claims were asserted by Sunsweet as plaintiff. Thus, Sunsweet went from a nominal
defendant to plaintiff in the lawsuit. The trial court explained that this could not be done
without being granted leave to do so, and Delicious Foods does not challenge this ruling.
       Delicious Foods instead argues, without citing any authority, that a derivative
claim can be brought on behalf of a suspended entity. But again, this was not the issue
because the stricken claims were direct, not derivative. Since Delicious Foods has not
even tried to explain how the court erred in striking the first three causes of action on the
ground that Sunsweet was not properly added as a plaintiff, we must affirm the court’s
order. (Century Surety Co. v. Polisso (2006) 139 Cal.App.4th 922, 963 [it is appellant’s
burden to show error and we will not act as appellate counsel for appellant by furnishing
legal argument for them].)
II.    Claims Stemming from Default Judgment Entered in Wildwood’s Action
       Although Delicious Foods mentions in its briefing that the trial court struck
Sunsweet’s answer to Wildwood’s complaint and Sunsweet’s cross-complaint, it does not
allege that this was error. (People v. Sanghera, supra, 139 Cal.App.4th at p. 1573.)
Since Delicious Foods has not even tried showing reversible error in this ruling, we
cannot disturb it. (Century Surety Co. v. Polisso, supra, 139 Cal.App.4th at p. 963.)
III.   Motion to Dismiss Appeal
       After Delicious Foods filed its opening brief, Wildwood moved to dismiss the
appeal as to the issues Delicious Foods raises on Sunsweet’s behalf. This includes the


                                              20.
challenges to the trial court’s order striking Sunsweet’s claims alleged in the TAC and the
order striking Sunsweet’s answer to Wildwood’s complaint and Sunsweet’s cross-
complaint against Wildwood. The chief grounds for the motion are that Sunsweet is a
suspended entity and lacks capacity to prosecute an appeal and that Delicious Foods lacks
standing to appeal on Sunsweet’s behalf. The motion is supported by a request for
judicial notice.
       We deny the motion and the request for judicial notice as moot since we have
already disposed of all the issues raised in this appeal.
                                      DISPOSITION
       The judgments are affirmed. Respondents are awarded their costs on appeal.



                                                            DE SANTOS, J.
WE CONCUR:



LEVY, Acting P. J.



DETJEN, J.




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